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                           UNITED STATES JUDICIAL PANEL
                                        on
                            MULTIDISTRICT LITIGATION



IN RE: TAKATA AIRBAG PRODUCTS
LIABILITY LITIGATION                                                             MDL No. 2599


                               (SEE ATTACHED SCHEDULE)


               ORDER VACATING CONDITIONAL TRANSFER ORDER


       A conditional transfer order was filed in the actions on the attached schedule on March 3,
2020. In light of the recent Suggestion of Remand (ECF No. 1146) issued by the transferee judge,
the Honorable Federico A. Moreno, it is

      ORDERED that the Panel’s conditional transfer order designated as “CTO-94" filed on
March 3, 2020, is VACATED.


                                                    FOR THE PANEL:



                                                    John W. Nichols
                                                    Clerk of the Panel
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            Case MDL No. 2599 Document 1152 Filed 03/10/20 Page 2 of 2



IN RE: TAKATA AIRBAG PRODUCTS
LIABILITY LITIGATION                                                 MDL No. 2599


                                    SCHEDULE A


DIST.         DIV.       C.A.NO.           CASE CAPTION

NORTH CAROLINA EASTERN
NCE      5          20-00060               Willis v. Ford Motor Company

SOUTH CAROLINA
SC        3              20-00865          Williams v. Ford Motor Company

WASHINGTON WESTERN
WAW      2         20-00260                Brooks v. Ford Motor Company
